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                Exhibit A
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 1
 2                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
 4
      TERESA SWEET, et al.,
 5                                                     No. 19-cv-03674-WHA
                             Plaintiffs,
 6
               v.
 7
      UNITED STATES DEPARTMENT OF                      DECLARATION OF MARK A. BROWN
 8    EDUCATION and BETSY DEVOS, in her
      official capacity as Secretary of Education
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10                           Defendants.
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     Declaration of Mark A. Brown
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              I, Mark A. Brown, hereby declare under the penalty of perjury as follows:
 1
 2   1.       I am over the age of 18 and competent to testify to the matters herein.

 3   2.       I am the Chief Operating Officer of Federal Student Aid (“FSA”) in the U.S. Department
 4
     of Education. I was appointed to my position on March 4, 2019, by U.S. Secretary of Education
 5
     Betsy DeVos. I served in the U.S. Air Force (“USAF”) for 32 years and retired as a major
 6
 7   general. Most recently I served as the deputy commander for the Air Education and Training

 8   Command. Prior to that, I served in a series of roles in the USAF.
 9   3.       As Chief Operating Officer, I oversee the management of FSA. Through my duties as
10
     Chief Operating Officer and my discussions with Department staff working on borrower defense
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     issues, I certify that I am duly authorized, am qualified, and have been given authority by the
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13   Department to make the statements contained in this Declaration regarding the Department’s

14   processing of borrower defense applications submitted by members of the class certified by the
15   Court in this action and consisting of “[a]ll people who borrowed a Direct Loan or FFEL loan to
16
     pay for a program of higher education, who have asserted a borrower defense to repayment to the
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     U.S. Department of Education, whose borrower defense has not been granted or denied on the
18
19   merits, and who is not a class member in Calvillo Manriquez v. DeVos, No. 3:17-cv-7210 (N.D.

20   Cal.).” Dkt. 46. The statements contained herein are based on my personal knowledge as an
21
     employee of the Department, my review of the pertinent records, and information provided to me
22
     in the performance of my official duties.
23
24   4.       Attachment 1 to this Declaration is a chart regarding the institutions identified in my

25   Declaration dated October 1, 2020 (ECF No. 140-1) at paragraph 12, which includes
26   schools/school groups from which the Department has determined that some individual
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     borrowers are ineligible for borrower defense relief. 1 For some of these institutions, the
 1
 2   Department is in possession of certain “common evidence”, i.e., relevant underlying evidence of

 3   misconduct compiled from various sources, including federal agencies, state attorneys general,
 4
     and the Department’s regular oversight activities.
 5
     5.       The schools are ordered by ownership group, where applicable (see column 1), and the
 6
 7   chart identifies the categories of applications relating to those schools that have been cleared for

 8   adjudication to date (see column 2). A determination that a category of applications is cleared
 9   for adjudication is based on the Department’s assessment of the scope of common evidence—
10
     e.g., what time periods, locations, programs and/or types of misconduct the evidence pertains
11
     to—in the Department’s possession. The sources of the Department’s common evidence are
12
13   listed in the third column of the chart. For those categories of applications cleared for

14   adjudication (see column 2), the Department has concluded that the common evidence in the
15   Department’s possession (see column 3) does not provide a basis for approval. These
16
     applications, therefore, are adjudicated based on the evidence that the borrower submitted with
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     his or her application. The Department is continuing to analyze the common evidence in its
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19   possession to determine whether and under what circumstances that evidence provides a basis for

20   granting the remaining borrower defense applications that are potentially within the scope of the
21
     common evidence and have not yet been cleared for adjudication.
22
     6.       The chart also includes a fourth column listing relevant final determinations made by the
23
24   Department, an accreditor, or another entity that the school made misrepresentations or engaged

25   in fraudulent conduct for which borrower defense relief may be granted. The fourth column is
26   limited to final adverse determinations on the merits and does not include mere allegations,
27
     1
28     The Department’s general practice is not to release the names of schools/school groups with
     fewer than 10 individual borrowers to protect the identity of the individual borrowers.

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     complaints, or investigations of misconduct by a federal agency, state attorney general, or other
 1
 2   enforcement entity, or settlements in which the school does not admit guilt, which do not

 3   themselves constitute final judgments or final determinations on the merits. Where the
 4
     Department is aware of such determinations, it will consider them, as it does with the common
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     evidence listed in the third column of the chart, in its consideration of whether to grant borrower
 6
 7   defense relief to a given application or category of applications. When adjudicating borrower

 8   defense applications, however, the Department conducts its own independent review of any
 9   relevant underlying evidence (see column 3) and any relevant final determinations (see column
10
     4) to determine whether relief is appropriate under the standards set forth in its regulations. The
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     Department engages in such independent review, consistent with its regulations, regardless of the
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13   determinations of outside entities.

14
15   I declare under penalty of perjury, pursuant to the provisions of 28 U.S.C. § 1746, that the
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     foregoing is true and correct.
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     Executed on this 14th day of October 2020.
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                                                                                 _
22                                         Mark A. Brown
                                           Chief Operating Officer of Federal Student Aid
23                                         Office of Federal Student Aid
24                                         United States Department of Education

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     Declaration of Mark A. Brown
     19-cv-3674-WHA
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